        Case 1:23-cv-09131-AMD-RML Document 8 Filed 12/13/23 Page 1 of 4 PageID #: 35

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

   ABIMAEL GARCIA, JABEL OSMANY ARAUZ                            )
 ROCHEZ, JAIME TRINIDAD DEL CARMEN, JOSE                         )
   MANUEL NAMINA TENE, and JULIO CESAR                           )
 RODRIGUEZ GUADARRAMA, individually and on                       )
       behalf of all others  similarly situated,
                      Plaintiff(s)                               )
                                                                 )
                                v.                                      Civil Action No. 23-cv-9131 AMD-RML
                                                                 )
   A&I GENERAL CONTRACTORS, LLC, RCD                             )
RESTORATIONS, INC., and APS CONSTRUCTION
                                                                 )
CORP. and JOHN MARTINI, JOSEPH CAGGIANO,
    and IXPATAC VALERIANO, as individuals                        )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                      Roman Avshalumov, Esq.
                                      80-02 Kew Gardens Road, Suite 601
                                      Kew Gardens, NY 11415




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                          Brenna Mahoney

                                                                           CLERK OF COURT

           12/13/2023                                                       s/Kimberly Davis
Date:
                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No. 23-cv-9131 AMD-RML

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                                          RIDER TO SUMMONS

                               Civil Case No.: _______________________

                                     FULL COMPLAINT CAPTION:

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------------------X        Civil Case No.:
   ABIMAEL GARCIA, JABEL OSMANY ARAUZ
   ROCHEZ, JAIME TRINIDAD DEL CARMEN, JOSE
   MANUEL NAMINA TENE, and JULIO CESAR                                           COLLECTIVE ACTION
   RODRIGUEZ GUADARRAMA, individually and on behalf                                 COMPLAINT
   of all others similarly situated,

                                                   Plaintiffs,                       JURY TRIAL
                                                                                     DEMANDED
               -against-

   A&I GENERAL CONTRACTORS, LLC, RCD
   RESTORATIONS, INC., and APS CONSTRUCTION
   CORP. and JOHN MARTINI, JOSEPH CAGGIANO, and
   IXPATAC VALERIANO, as individuals,

                                                   Defendants.
   --------------------------------------------------------------------------X

   Via Personal Service:
   A&I GENERAL CONTRACTORS, LLC
   703 Yonkers Ave., Yonkers, NY 10704
   RCD RESTORATIONS, INC.
   2572 Bronxwood, Ste 202, Bronx, NY 10469
   APS CONSTRUCTION CORP.
   10708 37th Ave., Queens, NY 11368

   JOHN MARTINI
   703 Yonkers Ave., Yonkers, NY 10704
   JOSEPH CAGGIANO
   2572 Bronxwood, Ste 202, Bronx, NY 10469
   IXPATAC VALERIANO
   10708 37th Ave., Queens, NY 11368

   Service via Secretary of State:
   A&I GENERAL CONTRACTORS, LLC (DOS ID# 3434314)
   104 Alexander Ave., Yonkers, NY 10704

                                                         1
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   RCD RESTORATIONS, INC. (DOS ID# 2119794)
   2572 Bronxwood, Ste 202, Bronx, NY 10469
   APS CONSTRUCTION CORP. (DOS ID# 5577466)
   4515 102 Street 2 Fl, Corona, NY 11368




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